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 1                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 2                                 SAN FRANCISCO DIVISION

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      IN RE GOOGLE PLAY ANTITRUST                 Case No. 3:21-md-02981-JD
 5    LITIGATION
                                                  [PROPOSED] ORDER GRANTING
 6    THIS DOCUMENT RELATES TO:                   DEFENDANTS LEAVE TO FILE A
                                                  RESPONSE TO EPIC’S PROPOSED
 7                                                AMENDMENT TO THE PROPOSED
      Epic Games Inc. v. Google LLC et al.,       VERDICT FORM
 8    Case, No. 3:20-cv-05671-JD
                                                  Judge:         Hon. James Donato
 9                                                Courtroom: 11, 19th Floor, 450 Golden Gate Ave,
10                                                San Francisco, California, 94102

11
            Defendants’ Motion, Pursuant to Local Rules 7-11, for Leave to File A Response to Epic’s
12
     Proposed Amendment to the Proposed Verdict Form came for hearing before this Court on the
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     above-captioned matter. Having fully considered the papers and good cause appearing therefor:
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            IT IS HEREBY ORDERED that Defendants’ Motion for Leave to File A Response to
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     Epic’s Proposed Amendment to the Proposed Verdict Form is GRANTED. Defendants’
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     Response, which was attached to Defendants’ Motion as Exhibit A, shall be treated as filed.
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18          SO ORDERED

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       DATED:
20                                                    HON. JAMES DONATO
                                                      United States District Judge
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                                              -1-                     Case No. 3:20-cv-05761-JD
      [PROPOSED] ORDER GRANTING LEAVE TO FILE RESPONSE TO EPIC’S PROPOSED AMENDMENT TO
                                 THE PROPOSED VERDICT FORM
